      Case SHAW
SEYFARTH      2:20-cv-01379-FMO-JEM
                      LLP                      Document       28 Filed 06/12/20 Page 1 of 2 Page ID #:178
Robert B. Milligan (SBN 217348); rmilligan@seyfarth.com
Sierra J. Chinn-Liu (SBN 322994); schinnliu@seyfarth.com
2029 Century Park East, Suite 3500
Los Angeles, California 90067-3021
Telephone: (310) 277-7200
Facsimile: (310) 201-5219
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:

3G PRODUCTIONS, INC., a Nevada corporation,                        2:20-cv-01379-FMO-JEM

                                                    Plaintiff(s)
                          v.
                                                                   AFFIDAVIT AND REQUEST FOR ISSUANCE
BEAUTYCON MEDIA, INC., a Delaware corporation,
                                                                          OF WRIT OF EXECUTION

                                                  Defendants)

(check one)       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                  STATE OF                           , COUNTY OF
    I, Sierra Chinn-Liu                                                           hereby state under penalty of perjury that,

    1. Judgment for $ 282,293.20               was entered on May 12, 2020              on the docket of the
       above-entitled action in the U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA in favor of
       Plaintiff 3G PRODUCTIONS, INC.                                      as Judgment Creditor, and against
       Defendant BEAUTYCON MEDIA, INC.                                     as Judgment Debtor

                   (If a Registered Judgment from another Court or District, include the following information)
         Said Judgment was registered herein under Title 28, U.S. Code, Section 1963, being a Judgment which was
         obtained in Civil Case No.                                        in the United States District Court for the
                                    District of                                      and which has become FINAL.
         NOTE:     JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
                   DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

    2. I am the Judgment Creditor, or the attorney for said Judgment Creditor, and request issuance of a Writ of
       Execution on the Judgment.

    3. ACCRUED since the entry of Judgment in the Central                              District of California
       are the following sums:
               $ 27.28                    accrued interest, computed at      0.16 % (see note)
               $ 0.00                     accrued costs
    Credit must be given for payments and partial satisfaction in the amount of $ 0.00                       which is to be
    credited against the total accrued costs and accrued interest, with any excess credited against the Judgment as entered.

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed at Los Angeles,                             State of California                                 , this 12th day of
    June                   2020

                                                                                                 Signature
                                                                          Sierra Chinn-Liu


                          AFFIDAVIT AND REQUEST FOR ISSUANCE OF WRIT OF EXECUTION                                    American LegalNet, Inc.
CV-24 (6/01)                                                                                                         www.FormsWorkflow.com
     Case 2:20-cv-01379-FMO-JEM Document 28 Filed 06/12/20 Page 2 of 2 Page ID #:179



 1                                      PROOF OF SERVICE
 2    STATE OF CALIFORNIA                        )
                                                 ) SS
 3    COUNTY OF LOS ANGELES                      )
 4           I am employed in the County of Los Angeles, State of California. I am over the
      age of 18 and not a party to the within action; my business address is 2029 Century Park
 5    East, Suite 3500, Los Angeles, California 90067. On June 12, 2020, I served the within
      document(s):
 6          AFFIDAVIT AND REQUEST FOR ISSUANCE OF WRIT OF EXECUTION
 7            by placing the document(s) listed above in a sealed envelope with postage thereon
 8    fully prepaid, in the United States mail at Los Angeles, California, addressed as set
              forth below.
 9       by personally delivering the document(s) listed above to the person(s) at the
10     address(es) set forth below.

11       by placing the document(s) listed above in a sealed envelope or package provided
       by an overnight delivery carrier with postage paid on account and deposited for
12       collection with the overnight carrier at Los Angeles, California, addressed as set
         forth below.
13       by transmitting the document(s) listed above, electronically, via the email
14     addresses set forth below.

15             California Registered Agent Inc.           Mark Anthony Vega
               Registered Agent for Service of Process    INCITE LAW GROUP, INC.
16
               for BEAUTYCON MEDIA, INC.                  325 N Larchmont Blvd, # 523
17             1267 Willis Street, Suite 100              Los Angeles, CA 90004-3011
               Redding, California 96001                  Tel: 323-306-3873
18
                                                          Fax: 323-306-3874
19                                                        mark@incitelawgroup.com
20           I am readily familiar with the firm's practice of collection and processing
      correspondence for mailing. Under that practice it would be deposited with the U.S.
21    Postal Service on that same day with postage thereon fully prepaid in the ordinary course
      of business. I am aware that on motion of the party served, service is presumed invalid if
22    postal cancellation date or postage meter date is more than one day after date of deposit
      for mailing in affidavit.
23
           I declare that I am employed in the office of a member of the bar of this court at
24    whose direction the service was made.

25             Executed on June 12, 2020, at Los Angeles, California.

26

27

28


                                          PROOF OF SERVICE
      63546109v.1
